
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date September 28, 1966.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
*3Our consideration, of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is, therefore, denied.
The motion of petitioner for attorney’s fees is also denied.
It is so ordered.
THORNAL, C. J., and THOMAS, O’CONNELL, CALDWELL and ERVIN, JJ., concur.
